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 7
 8                            UNITED STATES DISTRICT COURT

 9                                   DISTRICT OF NEVADA

10   ROBERT WALTER JOHANNES, an                     Case No. 2:21-cv-01494-JCM-BNW
     individual,
11
                            Plaintiff,
12                                                  STIPULATION AND ORDER TO
     vs.                                            EXTEND DEADLINE TO RESPOND
13
     AMERICAN EXPRESS NATIONAL                      (SECOND REQUEST)
14   BANK, a Foreign Entity; EQUIFAX
     INFORMATION SERVICES LLC, a
15   Foreign Limited-Liability Company,

16                          Defendants.

17
18                   Plaintiff Robert Walter Johannes (“Mr. Johannes”) and defendant
19   American Express National Bank (“Amex”) stipulate that the deadline for Amex to
20   respond to the complaint (ECF No. 1) be extended from October 22, 2021 until
21   November 5, 2021. The parties previously stipulated to extend the deadline for
22   Amex to respond to the complaint on October 12, 2021 (ECF No. 5).
23                   Since that time, the parties have engaged in good faith efforts to resolve
24   this matter without the need for further litigation. These discussions are ongoing.

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 1                   Thus, this extension is requested to permit the parties to discuss the

 2   possibility of settlement without incurring additional litigation expenses.

 3   COGBURN LAW                                    KAEMPFER CROWELL

 4
     /s/ Erik W. Fox
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 7
     Attorney for Plaintiff                         Attorneys for Defendant American
 8   Robert Walter Johannes                         Express National Bank
 9
10                                           ORDER
11                   IT IS SO ORDERED.
12

13                                        _______________________________________
                                          UNITED STATES DISTRICT COURT JUDGE
14
15                                        DATED: _______________________________
16
17
                                           Order
18                                IT IS SO ORDERED

19                                DATED: 3:18 pm, October 26, 2021

20
21                                BRENDA WEKSLER
                                  UNITED STATES MAGISTRATE JUDGE
22
23
24

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